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                        UNITED STATES DISTRICT COURT
                        DISTRICT COURT OF NEW JERSEY


  MARC A. STEPHENS,                           Case No. 22-cv-01940-MCA-JBC

                 Plaintiff,

  V.

  EQUIFAX, INC., EQUIFAX
  INFORMATION SERVICES, LLC,
  AND EQUIFAX CONSUMER
  SERVICES LLC, EXPERIAN
  INFORMATION SOLUTIONS, INC.,
  SYNCHRONY FINANCIAL, A                        CERTIFICATION OF SERVICE OF
  DELAWARE CORPORATION                          DEFENDANTS PAYPAL, INC. AND
  PAYPAL, INC., PAYPAL                         PAYPAL HOLDINGS, INC.’S MOTION
  HOLDINGS, INC., A DELAWARE                     TO COMPEL ARBITRATION OR
  CORPORATION,                                   DISMISS IN THE ALTERNATIVE

                 Defendants.


          I hereby certify that a true and correct copy of the foregoing (1) Notice of

 Defendants PayPal, Inc. and PayPal Holdings, Inc.’s Motion to Compel Arbitration

 or in the Alternative, Dismiss Plaintiff’s Complaint pursuant to Fed. R. Civ. P.

 12(b)(6); (2) Memorandum of Law in Support of Motion to Compel Arbitration or

 Dismiss in the Alternative to Dismiss; (3) Certification of Jill Potter with Exhibits

 A-C; (4) Proposed Form of Order; and (2) this Certification of Service were filed

 electronically, and served via overnight mail, and email to the following:




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                                    Marc A. Stephens
                                   271 Rosemont Place
                                  Englewood, NJ 07631
                            Email: marcstephens3@gmail.com
                                     Plaintiff Pro Se


          I further certify that the electronic filing of this document constitutes proper

 service on all counsel of record pursuant to Local Civil Rule 5.2.

                                    SAUL EWING ARNSTEIN & LEHR LLP
                                    Attorneys for Defendants
                                    PayPal, Inc. and PayPal Holdings, Inc.

                                    /s/ Ryan L. DiClemente
                                    Ryan L. DiClemente, Esq.

 Dated: August 29, 2022




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